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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
ALEXIS M. BRULATOUR,

                                   Plaintiff,                                23 CIVIL 6713 (SLC)

                 -v-                                                             JUDGMENT

MARTIN O’MALLEY,
COMMISSIONER OF SOCIAL SECURITY,

                                    Defendant.
-------------------------------------------------------------------X

        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Stipulation and Order dated February 26, 2024, that the action be, and

hereby is, reversed & remanded to the Commissioner of Social Security, pursuant to sentence

four of 42 U.S.C. § 405(g), for further administrative proceedings.

Dated: New York, New York
       February 26, 2024


                                                                            RUBY J. KRAJICK
                                                                       _________________________
                                                                              Clerk of Court

                                                              BY:
                                                                       _________________________
                                                                              Deputy Clerk
